               Case 3:21-cr-00274-CRB Document 49 Filed 02/15/22 Page 1 of 3




 1 STEPHANIE M. HINDS (CABN 154284)
   United States Attorney
 2
   THOMAS A. COLTHURST (CABN 99493)
 3 Chief, Criminal Division

 4 FRANK J. RIEBLI (CABN 221152)
   ERIC CHENG (CABN 274118)
 5 Assistant United States Attorney

 6           450 Golden Gate Avenue, Box 36055
             San Francisco, California 94102-3495
 7           Telephone: (415) 436-7200
             FAX: (415) 436-7234
 8           Frank.Riebli@usdoj.gov
             Eric.Cheng@usdioj
 9
     Attorneys for United States of America
10
                                      UNITED STATES DISTRICT COURT
11
                                   NORTHERN DISTRICT OF CALIFORNIA
12
                                          SAN FRANCISCO DIVISION
13

14   UNITED STATES OF AMERICA,                        ) NO. 21-CR-274 CRB
                                                      )
15           Plaintiff,                               ) STIPULATION TO EXCLUDE TIME UNDER THE
                                                      ) SPEEDY TRIAL ACT AND [PROPOSED] ORDER
16      v.                                            )
                                                      )
17   IAN BENJAMIN ROGERS,                             )
                                                      )
18           Defendant.                               )
                                                      )
19

20           It is hereby stipulated, by and between counsel for the United States and counsel for the
21 defendant Ian ROGERS, that time be excluded under the Speedy Trial Act from March 2 through March

22 30, 2022.

23           On February 1, the government and counsel for the defendant stipulated that the status
24 conference set for February 2 should be continued to March 2, 2022 and time should be excluded under

25 the Speedy Trial Act, noting that the government had recently secured ROGERS’s transfer from state to

26 federal custody (with the concurrence of state authorities), conducted a “reverse proffer” for ROGERS,

27 provided ROGERS a draft plea agreement, and begun negotiations for a global resolution of the charges

28 ROGERS presently faces. Dkt. No. 43. The parties agreed that additional time was needed to determine

     STIPULATION TO EXCLUDE TIME AND [PROPOSED] ORDER
     Case No. 21-CR-274 CRB                                                                     v. 7/10/2018
              Case 3:21-cr-00274-CRB Document 49 Filed 02/15/22 Page 2 of 3




 1 whether a resolution was possible and, if so, coordinate it with federal and state authorities. Id. The

 2 parties also agreed that ROGERS needed additional time to consider the information the government

 3 provided him during the reverse proffer. Id. The stipulation was granted that day. Dkt. No. 44. On

 4 February 9, 2022, the March 2 status conference was continued to March 30, 2022 by clerk’s notice,

 5 with the agreement of the parties. Dkt. No. 47.

 6          For all of these reasons, the parties stipulate and agree that excluding time until March 30, 2022

 7 will allow for the effective preparation of counsel. See 18 U.S.C. § 3161(h)(7)(B)(iv). The parties

 8 further stipulate and agree that the ends of justice served by excluding the time from March 2 through

 9 March 30, 2022 from computation under the Speedy Trial Act outweigh the best interests of the public

10 and the defendant in a speedy trial. 18 U.S.C. § 3161(h)(7)(A), (B)(iv).

11          The undersigned Assistant United States Attorney certifies that he has obtained approval from

12 counsel for the defendant to file this stipulation and proposed order.

13          IT IS SO STIPULATED.

14 DATED: February 14, 2022                                        /s/
                                                          FRANK RIEBLI
15                                                        ERIC CHENG
                                                          Assistant United States Attorneys
16

17 DATED: February 14, 2022                                        /s/
                                                          COLIN COOPER
18                                                        Counsel for Defendant Ian Rogers

19

20

21                                           [PROPOSED] ORDER

22          Based upon the facts set forth in the stipulation of the parties and the representations made to the

23 Court and for good cause shown, the Court finds that failing to exclude the time from March 2 through

24 March 30, 2022 would unreasonably deny defense counsel and the defendant the reasonable time

25 necessary for effective preparation, taking into account the exercise of due diligence. 18 U.S.C. §

26 3161(h)(7)(B)(iv). The Court further finds that the ends of justice served by excluding the time from

27 March 2 to March 30, 2022 from computation under the Speedy Trial Act outweigh the best interests of

28 the public and the defendant in a speedy trial. Therefore, and with the consent of the parties, IT IS

     STIPULATION TO EXCLUDE TIME AND [PROPOSED] ORDER
     Case No. 21-CR-274 CRB                                                                      v. 7/10/2018
             Case 3:21-cr-00274-CRB Document 49 Filed 02/15/22 Page 3 of 3




 1 HEREBY ORDERED that the time from March 2 through March 30, 2022 shall be excluded from

 2 computation under the Speedy Trial Act. 18 U.S.C. § 3161(h)(7)(A), (B)(iv).

 3         IT IS SO ORDERED.

 4

 5 DATED: February 15, 2022
                                                      HON. CHARLES R. BREYER
 6                                                    United States District Judge

 7

 8

 9

10

11

12

13

14

15

16

17

18
19

20

21

22

23

24

25

26

27

28

     STIPULATION TO EXCLUDE TIME AND [PROPOSED] ORDER
     Case No. 21-CR-274 CRB                                                          v. 7/10/2018
